                                  In the
                             Court of Appeals
                     Second Appellate District of Texas
                              at Fort Worth
                                 No. 02-23-00223-CR

ANNA MARIE JENNINGS, Appellant             §   On Appeal from the 235th District Court

                                           §   of Cooke County (CR22-00113)

V.                                         §   August 22, 2024

                                           §   Memorandum Opinion by Justice Womack

THE STATE OF TEXAS                         §   (nfp)

                                    JUDGMENT

      This court has considered the record on appeal in this case and holds that there

was no error in the trial court’s judgment. It is ordered that the judgment of the trial

court is affirmed.

                                      SECOND DISTRICT COURT OF APPEALS


                                       By /s/ Dana Womack
                                          Justice Dana Womack
